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                                   Case: 1:22−mc−00079
                                   Assigned To : Cobb, Jia M.
                                   Assign. Date : 8/18/2022
                                   Description: Misc.
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